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        t]ORIGINAL
Jabbar Sachet Al-Khafagi #10877333
3405 Deer Park Drive SE
Salem, OR 97310
     Plaintiff, pro se




                         IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

JABBAR SACHET AL-KHAFAGI,                          )
                                                   ) Case No. 2:19-CV-00669-MO
                   Plaintiff,                      )
                                                   )
       vs.                                         )       PLAINTIFF'S OPPOSITION TO
                                                   ) DEFENDANT'S MOTION TO DISMISS
CHARLES C. SUNG, ET AL,                            )
                                I
                                                   )
                   Defendants.                     )
___________                                        )

I.     Introduction

       Plaintiff is a state prisoner who filed suit under 42 USC. § 1983 alleging that Defendants,

state prison officials acts and omissions of the have subjected and continue to subject him to

cruel and unusual punishment and denial of due process, .in violation of the Eighth and

Fourteenth Amendments to the United States Constitution, Plaintiff seeks monetary damages to

be determined, declaratory judgment and injunctive relief. Plaintiff requests a trial by jury and

seeks an award of reasonable costs and attorneys' fees pursuant to 42 USC§ 1988.

       Defendants move for dismissal of Plaintiffs claims against Dr. Charles Sung under Fed

R Civ P 12(c) on the ground that any claim against Dr. SWlg is "time-barred W1der the applicable

two-year statute of limitations, or alternatively, under Rule 12(b)(2), because this Court does not

have personal jurisdiction over Dr. Sung." Defendant's motion should be denied. When properly




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analyzed, Plaintiffs claim is timely because this action was filed within two years from the date

when the last element of his claim ripened and the cause of action accrued.

II.    BACKGROUND
       A.      Factual background.

       In his Complaint, Plaintiff alleges that the Oregon Department of Corrections, (ODOC)

referred Plaintiff to Defendant SUNG, a contract medical doctor for a procedure on his left eye at

Defendant Sung's medical clinic in Kennewick, WA. (Complaint, p 4). Plaintiff alleged that on

May 2, 2016 Defendant SUNG performed cataract surgery and was seen by him in follow-up

care until April 2, 2017. (Id). Plaintiff went on to allege that Defendant SUNG performed

additional surgery on his left eye on April 2, 2017. Dr. Sung performed a vitrectomy surgery on

his left eye. (Id. at 5). During that surgery, Plaintiff alleged that during the April 2, 2017 surgery

Defendant Sung did not administer any type of anesthesia and placed his elbow on Plaintiffs

forehead and kept it there despite being informed that he was causing Plaintiff extreme pain. (Id).

Plaintiff further alleged that he was aware for the first time doctor that his eyesight in his left eye

was permanently lost on June 30, 2018 when he was informed by a medical doctor of that reality.

(Complaint, pp 7-8). Plaintiff alleged that as a direct and proximate result of the surgery, the

vision in his left eye has been damaged. (Id); see also (id at 9).

       B.      Procedural background.

       On April 29, 2019, Plaintiff filed his civil rights action pursuant to 42 USC. § 1983

alleging state prison officials acts and omissions of the have subjected and continue to subject

him to cruel and unusual punishment and denial of due process, in violation of the Eighth and

Fourteenth Amendments to the United States Constitution.

       On October 28, 2019, Defendant SUNG filed a Motion to Dismiss alleging that any claim




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against Dr. Sung is "time-barred under the applicable two-year statute of limitations, or

alternatively, under Rule 12(b)(2), because this Court does not have personal jurisdiction over

Dr. Sung."

III.   THE DEFENDANTS' MOTION TO DISMISS SHOULD BE DENIED

       A.      Standard of review in Fed. R. Civ. P. 12(b)(6) motion to dismiss.

       A motion to dismiss under Fed. R. Civ. P. 12(b)(6) tests the sufficiency of the complaint.

North Star Int'! v. Ariz. Corp. Comm 'n, 720 F.2d 578, 581 (9th Cir. 1983). Dismissal of the

complaint, or any claim within it, "can be based on the lack of a cognizable legal theory or the

absence of sufficient facts alleged under a cognizable legal theory." Balistreri v. Pacifica Police

Dep't, 901 F.2d 696,699 (9th Cir. 1990).

       The Supreme Court has outlined a two-step process for lower courts to follow in

assessing the allegations in a complaint under Rule 12. First, the court must determine which

allegations in the complaint are conclusory and, therefore, are not entitled to the assumption of

truthfulness normally accorded to allegations in a complaint. Ashcroft v. Iqbal, 556 US 662, 678

(2008). Second, the court must proceed to consider the remaining factual allegations, assuming

them to be true, and determine whether they suggest a "plausible" claim for relief. Id. at 679. "A

claim has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged." 556 US at

678 (citing Bell Atlantic Corp. v. Twombly, 550 US 544, 556 (2007)). "In sum, for a complaint to

survive a motion to dismiss the non-conclusory factual content, and reasonable inferences from

that content, must be plausibly suggestive of a claim entitling the pleader to relief." Moss v. US

Secret Service, 572 F3d 962, 969 (9th Cir. 2009).




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       If a claim is based on a proper legal theory but fails to allege sufficient facts, the Plaintiff

should be afforded the opportunity to amend the complaint before dismissal. Keniston v. Roberts,

717 F2d 1295, 1300 (9th Cir 1983). If the claim is not based on a proper legal theory, the claim

should be dismissed. Id. "Dismissal without leave to amend is improper unless it is clear, upon

de novo review, that the complaint could not be saved by any amendment." Moss, 572 F3d at

972.

       "A document filed pro se is 'to be liberally construed,' and a 'pro se complaint, however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers."' Erickson v. Pardus, 551 US 89 (2007)(per curiam)(quoting Estelle v. Gamble, 429 US

97 (1976)). The rule of liberal construction of pro se pleadings is "particularly important in civil

rights cases." Ferdik v. Bonzelet, 963 F.2d 1258, 1263 (9th Cir. 1992).

       B.      Stating a claim under 42 USC. § 1983.

       42 USC. § 1983 (1996) creates liability for:

               Every person who, under color of any statute, ordinance, regulation, custom, or
               usage, of any State or Territory or the District of Columbia, subjects, or causes to
               be subjected, any citizen of the United States or other person within the
               jurisdiction thereof to the deprivation of any rights, privileges, or immunities
               secured by the Constitution and laws[.]

       In order to state a viable § 1983 claim a Plaintiff must plead that (1) the action occurred

"under color of law" and (2) the action is a deprivation of a constitutional right or a federal

statutory right. Parratt v. Taylor, 451 US 527, 535 (1981). A defendant's conduct must have a

close causal connection to a plaintiffs injury in order for § 1983 liability to attach. Martinez v.

California, 444 US 277,285 (1980).

       C.      Any claim against Defendant SUNG is not time-barred.

       This Court can only rule in Defendant's favor on this issue if it "appears beyond doubt

that the Plaintiff can prove no set of facts that would establish the timeliness of the claim."


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Supermail Cargo, Inc. v. United States, 68 F3d 1204, 1207 (9th Cir 1995). Generally, a

complaint must be timely filed. The Civil Rights Act, 42 USC, §1983, contains no statute of

limitations. "Thus, the federal courts [] apply the applicable period of limitations under state law

for the jurisdiction in which the claim arose." Rose v. Rinaldi, 654 F2d 546, 547 (9th Cir 1981 ).

In this case, the relevant statute is Oregon's 2-year tort statute of limitations in ORS 12.110. See

Gaston v. Parsons, 318 Or 247, 255-56 (1994)(interpreting the ORS 12.110(4) 2-year tort statute

of limitations, which is triggered by discovery of injury, to require more than "a mere suspicion"

of an actionable injury).

       Defendant SUNG argues that Plaintiff did not allege any "encounter with Dr Sung after

April 2017[,]" (Defendant Charles C. Sung, MD's Motion to Dismiss Plaintiffs Complaint

(Dismiss Motion), p 3), and that Plaintiff "was aware of having an injury to his left eye from the

surgery by April 3, 2017 at the latest." (Id). Defendant points to Plaintiffs non-medical opinion

statement that Plaintiff made to Defendant SUNG the day after the April 3, 2017 surgery that

Plaintiff thought he was blind in his left eye, with Defendant SUNG's apparent deflection of

blame on Plaintiff for "mov[ing] during the surgery." (Id).

       Plaintiffs mere suspicion that Defendant SUNG may have acted with deliberate

indifference was not enough to trigger the statute of limitations in this case. (Declaration Of

JABBAR SACHET AL-KHAFAGI In Support Of Plaintiffs Response And Opposition To

Defendant's Motion To Dismiss (Pl Deel),      11 8-9).   Plaintiffs allegation was little more than

what he thought may have occurred at that time as a lay person not trained in any medical

sciences whatsoever. (Id.). Plaintiff did not learn that he was permanently blind until June 30,

2018, when he was seen by Silvio Gurdian, MD, of ECPS at 1309 Liberty Street, Salem, Oregon

97302-4245; Tel: (503) 585-2022, where the doctor informed Plaintiff, after a medical




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examination that he was officially blind in his left eye. (Pl Deel, ,IlO). Until the harm done by

Defendant SUNG was realized by Plaintiff by confirmation from another doctor, Silvio Gurdian,

MD, on June 30, 2018, Plaintiff was merely surmising. (Pl Deel, ,r 8-9).

       The fact remains that nothing in Plaintiffs medical records indicate that he was

permanently blind in his left eye until June 30, 2018. In fact the "Provider's Returning

Information" dated April 11, 2017 indicates that Plaintiff was "doing well," which does not

indicate or connote blindness. (Exhibit 1, p 1). On April 26, 2017 the same notes "hemorrhage

has decreased, but macular scar is present, which does not indicate or connote blindness to

Plaintiff a non-medical lay person. (Exhibit 1, p 2). Further, there is nothing in Plaintiffs

medical record that notes that Defendant SUNG informed Plaintiff that he would be permanently

blind, or that that blindness was a result of his actions on April 2, 2017. Plaintiff cannot be held

to that date based solely on Defendant SUNG's assertions to him.

       Although Plaintiffs claims are rooted to events that took place on April 2, 2017, it is

inequitable to bar Plaintiff who had no idea he has been harmed until June 30, 2018 from seeking

redress. (Pl Deel,   ,r   10). The statute of limitations has generally been tolled by the "discovery

rule." Under this rule, the statute only begins to run once a plaintiff has knowledge of the

"critical facts" of his injury, which are "that he has been hurt and who has inflicted the injury."

United States v. Kubrick, 444 US 111, 122 (1979). In addition to being a rule of Oregon law, see,

e.g., Gaston v. Parsons, 318 Or 247, 255-56 (1994), the discovery rule has been observed as a

matter of federal law, Kubrick, 444 U.S. at 120.

       There is a caveat to this rule though, in that Plaintiff must have been diligent in

discovering the critical facts. As a result, a plaintiff who did not actually know that his rights

were violated will be barred from bringing his claim after the running of the statute of




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limitations, ifhe should have known in the exercise of due diligence. See Herrera-Diaz v. United
                                                                                               \
States, 845 F2d 1534, 1537 (9th Cir 1988). But "what [a plaintiff] knew and when [he] knew it

are questions of fact." Simmons v. United States, 805 F2d 1363, 1368 (9th Cir 1986). Here

Plaintiff was extremely diligent submitting several requests to ODOC medical services for help

discovering the reason he was having difficulties in his left eye, an adequate diagnosis, and

treatment so that he could gain his eye sight in his left eye. (Exhibit 1, pp 3-21) (Pl Deel, ,r 11 ). A

trier of fact could find that a reasonable person, untrained in medicine, particularly the science of

ophthalmology, would not necessarily have connected Plaintiffs symptoms to the Defendant

SUNG's actions on April 2, 2017. This is so under the light of the obfuscation Plaintiff received

about the prognosis of recovery in his left eye. It was not until his time with Dr. Silvio Gurdian

on June 30, 2018 did Plaintiff learn that his eye sight loss in his left eye was permanent.

       Plaintiff saw Defendant SUNG several additional times after April 2, 2017 where

Plaintiff received inadequate medical attention also, Plaintiff thus raises a triable issue as to

whether his section 1983 claims against Defendant SUNG were timely as will be further

explained below.

       D.      Continuing Harm

       Generally, a complaint must be timely filed. The Civil Rights Act, 42 USC, §1983,

contains no statute of limitations. "Thus, the federal courts [] apply the applicable period of

limitations under state law for the jurisdiction in which the claim arose." Rose v. Rinaldi, 654

F2d 546, 54 7 (9th Cir 1981 ). In this case, the relevant statute is Oregon's 2-year tort statute of

limitations in ORS 12.110. See Gaston v. Parsons, 318 Or 247, 255-56 (1994)(interpreting the

ORS 12.110(4) 2-year tort statute of limitations, which is triggered by discovery of injury, to

require more than "a mere suspicion" of an actionable injury).




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       The continuing violation doctrine is an equitable doctrine designed ''to prevent a

defendant from using its earlier illegal conduct to avoid liability for later illegal conduct of the

same sort." O'Loghlin v. County of Orange, 229 F.3d 871, 875 (9th Cir 2000). To establish a

continuing violation, a plaintiff must show "a series of related acts against a single individual ...

that ... 'are related closely enough to constitute a continuing violation."' Green v. Los Angeles

County Superintendent of Schools, 883 F2d 1472, 1480-81 (9th Cir1989)(quoting Bruno v.

Western Elec Co, 829 F2d 957, 961 (10th Cir 1987)).

       Here, Defendant's failure to inform Plaintiff of the nature and degree of the injury to his

left eye for over a year, leading him to believe that they were talcing steps to rectify Defendant

SUNG's deliberate indifference resulted in a continuing harm to Plaintiff. (Pl Deel, p _). See

Heard v. Sheahan, 253 F3d 316, 318 (7th Cir 2001)(finding that continuous violation doctrine

applied to defendants' deliberate indifference for the span of time that prison officials were

aware bf plaintiffs injury and allegedly refused to treat it); Lavellee v. Listi, 611 F2d 1129, 1132

(5th Cir 1980)("[T]he [arrestee's] allegation of a failure to provide needed and requested medical

attention constitutes a continuing tort, which does not accrue until the date medical attention is

provided."); Neel v. Rehberg, 577 F2d 262, 263-64 (5th Cir 1978)(per curiam)(finding that

where inmate alleged that jail officials failed to provide medical treatment over a three-month

period, the continuous violation doctrine applied and the statute of limitations did not begin to

run until the end of that period); see also Evans v. County of San Diego, No, 06 CV 0877 JM

(RBB), 2008 US Dist LEXIS 25054, 2008 WL 842459, at * 12 (SD Cal Mar 27, 2008)(applying

continuing violation doctrine to prisoner's Eighth Amendment medical treatment claim). Martin

v. Woodford, No. 1:08-cv-0415 LJO SKO PC, 2010 US Dist LEXIS 69693, 2010 WL 2773735

at *4-*5 (ED Cal July 13, 2010), adopted by 2010 U.S. Dist. LEXIS 103820, 2010 WL 3853305



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(ED Cal Sept 29, 2010), aff d, 503 Fed Appx 530, 2013 WL 29792 (9th Cir 2013); Barron v.

Martel, 2014 US Dist LEXIS 93421 (2014).

       E.      Jurisdiction over Defendant SUNG is conferred as a contract provider for
               ODOC.

       To state a claim under section 1983, Plaintiff must allege the violation of a right secured

by the Constitution and laws of the United States and must show that the alleged deprivation was

committed by a "person acting under color of state law." West v. Atkins, 487 US 42, 48 (1988).

"[S]ection 1983 only provides a remedy against persons acting under color of state law." Ibrahim

v. Dep 't of Homeland Sec., 538 F3d 1250, 1257 (9th Cir 2008). "[S]tate employment is generally

sufficient to render the defendant a state actor .... " Lugar v. Edmondson Oil Co, Inc, 457 US

922, 935 nl8 (1982). On the other hand, private actors are presumed.to be outside the scope of§

1983 as not acting under color of state law. Florer v. Congregation Pidyon Shevuyim, N.A, 639

F3d 916, 922 (9th Cir 2011). The ultimate issue in determining whether a person is subject to'

suit under § 1983 is the same question posed in cases arising under the Eighth Amendment: is the

alleged infringement of federal rights fairly attributable to the government?

       "The Eighth Amendment imposes upon prison officials the duty to provide humane

conditions of confinement; prison officials must ensure that prisoners receive adequate . . .

medical care." Peralta v. Dillard, 744 F3d 1076, 1091 (9th Cir 2014)(citing Farmer v. Brennan,

511 US 825, 832 (1994). "The State's obligation remains even if it has contracted with private

parties to provide medical care." Braggs v. Dunn, FSupp3d, No. CV-214-CV-601-MHTWO, 257

FSupp 3d 1171, 2017 US Dist LEXIS 98755, 2017 WL 2773833, at *8 (MD Ala June 27,

2017)(citing West v. Atkins, 487 US 42, 56 (1988)). "That is, the State is liable for the

contractor's unconstitutional policies and practices if the contractor is allowed to determine

policy either 'expressly or by default."' Ancata v. Prison Health Servs, Inc, 769 F2d 700, 706


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nl 1 (11th Cir 1985)(cited in Braggs, 2017 US Dist LEXIS 98755, 2017 WL 2773833, at *8).

Moreover, it has long been established that "establish[ing] or utiliz[ing] a policy or custom

requiring that inmates seek court orders to obtain medical services" is a basis for liability "if the

result of that policy or custom played a role in any deliberate indifference to" an inmate's

medical needs. Ancata, 769 F2d at 706 (citing Berdin v. Duggan, 701 F2d 909 (11th Cir 1983)).

       Here, Plaintiff has alleged that Defendant SUNG has failed to provide Plaintiff adequate

medical care and that the ODOC contracted with Defendant SUNG to provide health care

services for Plaintiff. Accordingly, Defendant SUNG was acting under color of state law by way

of his contract with the ODOC to provide medical services to prisoners.


       IV.     CONCLUSION

       For the reasons stated above, Defendants' Motion to Dismiss should be denied.




DATED this 4th day of February, 2020.


                                              Jabbar            - afagi #10877333
                                              3405 Deer Park Drive SE
                                              Salem, OR 97310
                                                   Plaintiff, pro se




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  Medications:                               Vaccines
   □ I have not received my prescription     □ Hepatitis A/B                                    Other Function
   □ My prescription is about to expire      □ Flu                                              □ BP check
   □ My prescriptio·n is not helping         □ Pneumonia                                        □ Test result request
                                             □ Shingles                                         □ Is my appointment still scheduled?
   Glasses                                   □ HIV Test
   □ Eye exam for glasses                    □ Hepatitis C Test                                 □ Other issues - not sick:
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                                                   State ID#                       Housing                          Date


 Medications:                                Vaccines
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□ My prescription is not helping                                     □ Pneumonia                                    □ Test result request
                                                                     □ Shingles                                     □ Is my appointment still scheduled?
Glasses                                                              □ HIV Test
□ Eye exam for glasses                                               □ Hepatitis C Test                             □ Other issues - not sick:
□ Repair


Health Care request, issue. concern, or sickness:
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Vledications:                             Vaccines
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J My prescription is about to expire      □ Flu                                      □ BP check
J My prescription is not helping          □ Pneumonia                                □ Test result request
                                          □ Shingles                                 □ ls my appointment still scheduled?
Slasses                                   □ HIV Test
:J Eye exam for glasses                   □ Hepatitis C Test                         □ Other issues - not sick:
:J Repair


Health Care request. issue. concern, or sickness:


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We have taken the following actions in response to your health service request:

~ u will be ~cheduled to see: OProvider        ~sin.g staff                                       B   ·r·~.. .
□ Your request has been forwarded to: OManager  O0ptometry OSupport Services O        .U
                           OPharmacy Technician OSee attached health education handou j N 2 3 2019
Additional Comments: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---4,_ _ _ _ __




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 Name                                             State ID#                        Housing                 Date


 Medications:                               Vaccines
 □ I have not received my prescription      □ Hepatitis A/B                           Other Function
 □ My prescription is about to expire       □ Flu                                     □ BP check
 □ My prescription is not helping           □ Pneumonia                               □ Test result request
                                            □ Shingles                                □ Is my appointment still scheduled?
 Glasses                                    □ HIV Test
 □ Eye exam for glasses                     □ Hepatitis C Test                        □ Other issues - not sick:
 □ Repair




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 We have taken the following actions in response to your health service request:

~ o u will be scheduled ta~ovider                  ONursing staff

,/4 Your request has been forwarded to: OManager         O0ptometry OSupport Services O BHS
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Medications:                                          Vaccines
□ I ha_ve not received my prescriptio~                □ Hepatitis A/B                                       Other Function
□ My prescription is about to expire                  □   Flu                                               □ BP check
□ My prescription is not helping                      □   Pneumonia                                         □ Test result request
                                                      □   Shingles                                          □ Is my appointment still scheduled?
Glasses                                               □   HIV Test
□ Eye exam for glasses                                                                                      □ Other issues - not sick:
                                                      □   Hepatitis C Test
□ Repair


Health Care request, issue. concern. or sickness:
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We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider                        ONursing staff

□ Your request has been forwarded to: OManager    O0ptometry 1'Support Services O BHS
                              OPharmacy Tech ician S ea ached health education handout
Additional Comments: -----1i-=-----~---...-;..-.........              .,,,p,,,J.~~~"-----------------




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Name                                                State ID#                          Housing           _     Date


Medications:                              Vaccines
□ I have not received my prescription      □ Hepatitis A/B                                Other Function
□ My prescription is about to expire       □ Flu·                                         □ BP check
□ My prescription is not helping           □ Pneumonia                                    □ Test result request         .
                                           □ Shingles                                     □ Is my appointment still scheduled?
Glasses                                    □ HIV Test
□ Eye exam for glasses                     □ Hepatitis C Test                             □ Other issues - not sick:
□ Repair


Health Care request. issue, concern, or sickness:
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We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider           ONursing staff

□ Your request has been forwarded to: OManager          O0ptometry OSupport Services O BHS

Additional Comments:
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                                   OPharmacy Technician OSee attached health education handout
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Medications:                             Vaccines
□ I have not received my prescription    □ Hepatitis A/B                             Other Function
□ My prescription is about to expire     □   Flu                                     □ BP check
□ My prescription is not helping         □   Pneumonia                               □ Test result request
                                         □   Shingles                                □ Is my appointment still scheduled?
Glasses                                  □   HIV Test
□ Eye exam for glasses                                                               □ Other issues - not sick:
                                         □   Hepatitis C Test
□ Repair




We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider        ONursing staff

□ Your request has been forwarded to: OManager     O0ijtometry OSupport Services O ~-HS
                              OPharmacy Technician OS e attached health education handout
Additional Comments:                                        ·                         / ·                 '




Responder's Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ _ _ _ _ _ _ _ _ __




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illedicamentos:                            Vacunas                                                Otra funci6n
] No he recibido mi receta                 □ Hepatitis A/B                                        □ Revision de tension arterial
] Mi receta esta par veneer                □   Gripe                                              □ Petici6n para resultados de prueba
] Mi receta no me esta ayudando            □   Pulmonfa                                           □ lTodavia tengo una cita prevista?
                                           □   Culebrilla
:ilasses                                                                                          □ Otras preguntas que no son para
                                           □   Prueba de VIH
:I Examen ocular de ojos                                                                          asistencia medica:
                                           □   Prueba de Hepatitis C
:J Reparation



Petici6n de asistencia medica, cuesti6             a ·'      enfermedad:                   .
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                                                                                                                  ,..;L.L   .!   V   L   u
Hemes tornado las siguientes acciones en respuesta a su petici6n de servicio medico:

□ Usted sera programado para ver a: 0 Abastecedor medico               O Enfermeras

□ Su petici6n ha sido expedida a: 0 La gerenciaO 0ptometrfa   OServicios de apoyo O Salud mental
                               OTecnico de farmacia O Ver el folleto de educaci6n sanitaria atado
Comentarios Adicionales: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Firma de Respondiente: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Fecha: _ _ _ _ _ _ _ _ _ _ _ _ __
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Name                                                State ID#                                                Date


Medications:                               Vaccines
□ I have not received my prescription       □ Hepatitis A/B                             Other Function .
□ My prescription is about to expire        □ Flu                                        □ BP check
□ My pres(:ription is not helping           □ Pneumonia                                  □ Test result request
                                            □ Shingles                                   □ Is my appointment still scheduled?
Glasses                                     □ HIV Test
□ Eye exam for glasses                      □ Hepatitis C Test                           □ Other issues - not sick:
□ Repair


Health Care request, issue. concern. or sickness:
                         I




We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider           ONursing staff

□ Your request has been forwarded to: OManager           O0ptometry OSupport Services O BHS
                                    OPharmacy Technician OSee attached health education handout
Additional Comments:
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Medications:                                 Vaccines .
□ I have not received my prescription         □ Hepatitis A/B                                Other Function
□ My prescription is about to expire          □ Flu                                          □ BP check
□ My prescription is not helping              □ Pneumonia                                    □ Test result request
                                              □ Shingles                                     □ Is my appointment still scheduled?
Glasses                                       □ HIV Test                                              ·'
□ Eye exam for glasses                        □ Hepatitis C Test                             □ Other issues - not sick:
□ Repair


Health Care request. issue, concern. or sickness:
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We have taken the following actions in response to your health service request:

~ w i l l be scheduled to se~vider                   ONursing staff

□ Your request has been forwarded to: OManager          O0ptometry OSupport Services O BHS
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Additional~omments: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




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    Name                                                State ID#                      Housing                 Date


    Medications:                              Vaccines
    □ I have not received my prescription     □ Hepatitis A/B                             Other Function
    □ My prescription is about to expire      □ Flu                                       □ BP check
-   □ My prescription is not helping          □ Pneumonia                                 □ Test result request
                                              □ Shingles                                  □ Is my appointment still scheduled?
    Glasses                                   □ HIV Test
    □ Eye exam for glasses                    □ Hepatitis C Test                          □ Other issues - not sick:
    □ Repair


    Health Care request. issue, concern. or sickness:
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    We have taken the following actions in response to your health service_ request:

    □   You will be scheduled to see: OProvider         ONursing staff

    □   Your request has been forwarded to: OManager     O0ptometry OSupport Services O BHS
                                    OPharmacy Technician OSee attached health education han




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Medications:                               Vaccines                                       '-.

□ I have not received my prescription      □ Hepatitis A/B                           Other Function
□ My prescription is about to expire       □ Flu                                     □ BP check
□ My prescription is not helping           □ Pneumonia                               □ Test result request
                                           □ Shingles                                □ Is my appointment still scheduled?
Glasses                                    □ HIV Test
□ Eye exam for glasses                     □ Hepatitis CTest                         □ Other issues - not sick:
□ Repair




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We have taken the.following actions in response to your health service regue~t:

□ You will be scheduled to see: OProvider         ONursing staff

□ Your request has been forwarded to: OManager          O0ptometry OSupport Services O BHS
                                   OPharmacy Technician OSee attached health education handout
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Medications:                                Vaccines
□ I have not received my prescription       □ Hepatitis A/B                          Other Function
□ My prescription is about to expire        □ Flu                                    □ BP check
□ My prescription is not helping            □ Pneumonia                              □ Test result request
                                            □ Shingles                               □ Is my appointment still scheduled?
Glasses                                     □ HIV Test
□ Eye exam for glasses                      □ Hepatitis C Test                       □ Other issues - not sick:
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We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider          ONursing staff

□ Your request has been forwarded to: OManager           O0ptometry OSupport Services O BHS
                                    OPharmacy Technician OSee attached health education handout
Additional CommentS:                                              ----4- ~                                   ~



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 Medications:                                     Vaccines
 □ I have not received my prescription            □ Hepatitis A/B                                    Other Function
 □ My prescription is about to expire             □ Flu                                              □ BP check
 □ My prescription is not helping                 □ Pneumonia                                        □ Test result request
                                                  □ Shingles                                         □ Is my appointment still scheduled?
 Glasses                                          □ HIV Test
 □ Eye e5<am for glasses                                                                             □ Other issues - not sick:
                                                  □ Hepatitis C Test
 □ Repair


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 We have taken the following actions in response to your health service request:

~ u will be scheduled to see: OProvid~ursing staff

 □ Your request has been forwarded to: OManager           O0ptometry OSupport Services O BHS
                                     OPharmacy Technician OSee attached h~alth education handout
 Additional Comments:
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Medications:                                                                       Vaccines
□ I have not received my prescription                                              □ Hepatitis A/B                                                      Other Function
□   My prescription is about to expire                                              □ Flu                                                               □ BP check
□ My prescription is not helping·                                                   □ Pneumonia                                                         □ Test result request
                                                                                    □ Shingles                                                          □ Is my appointment still scheduled?
Glasses                                                                             □ HIV Test
□ Eye exam for glasses                                                                                                                                  □ Other issues - not sick:
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                                                                                    □ Hepatitis C Test
□ Repair


Health Care request. issue, concern, or sickness:
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We have taken the following actions in response to your health service request:

□ You will be scheduled to see: OProvider                                                    ONursing staff

□ Your request has been forwarded to: OManager  '00ptometry OSupport Services O BHS
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Additional Comments: _ _ _ _ _ _ _ _ _ _ _ _ _--,4_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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Medications:                                    Vaccines
□ I have not received   my prescription         □ Hepatitis A/B                                      Other Function
□ My prescription is about to expire            □ Flu                                                □ BP check
□ My prescription is not helping                □ Pneumonia                                          □ Test result re~uest
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Glasses                                         □ HIV Test
□ Eye exam for glasses                          □ Hepatitis C Test                                   □ Other issues - not   sick:
□ Repair




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We have taken the following actions in response to your health service request:

D You will be scheduled to see: OProvider               ONursing staff

D Your request has been forwarded to: OManager                    O0ptometry         OSupport Services         O BHS
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Responder's Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ _ _ _ _ _ _ _ __




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                                          OREGON DEPARTMENT OF CORRECTIONS '                                                  Page 20 of 21
                                                                                                                                  Exhibit I
                                                     INMATE COMMUNICATION FORM

TO:      NJse;\ ~ CC\ \                 Q-e,c ordf)                                    Date: _ \___l_.__\;......a.q_,____\ l_________
State your issue in detail: -                  -._               \
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:cn,ate-Committed Name (first ~ddle last) .
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 Response/Action Taken:

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 Date Received:           _ _ _ _ _ _ _ Referred To*:

 Date Answere4:                Of$~\;
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                                                                     Signature of Staff Member:

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                                 NON-EMERGENCY HEALTH CARE RfltUES I                           Page 21 or21
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Medications:                                 Vaccines
□ I have not received my- prescription       □ Hepatitis A/B                         Other Function
□ My prescription is about to expire         □ Flu                                   □ BP check
□ My prescription is not helping             □ Pneumonia                             □ Test result request
                                             □ Shingles                              □ Is my appointment still scheduled?
Glasses                                      □ HIV Test
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□ Eye exam for glasses                       □ Hepatitis C Test                      □ Other issues - not sick:
□ Repair


Health Care request. issue. concern. or sickness:
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We have taken the following actions in response to your health service request:

□   You will be scheduled to see: OProvider         ~ursing staff

□ Your request has been forwarded to: OManager     O0ptometry OSupport Services O BHS
                              OPharmacy Technician OSee attached health education handout

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Additional C o m m e n t s : - - - - - - - - - - - - - - - - - - - - - - - - = - - - - - - - -
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Responder's Signature: ----~----1-•_r,--
                                      _ _ _ _ _ _ _ _ _ Date: _ _t.1_-_.l_"-1_-_l_S""_ _ _ _ _ __




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                               CERTIFICATE OF SERVICE AND FILING


               I hereby certify that I filed and served a true copy of the foregoing document on the
        following parties this 4th day of February, 2020, by placing all in a sealed envelope, postage
        prepaid and deposited the same in the US Postal Service.

        Department of Justice
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        Salem, Oregon 97301

        Lindsay Harp, LLP
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        3405 Deer Park Drive SE
        Salem, OR 97310
             Plaintiff, pro se




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